






						NO. 12-08-00397-CV



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


IN RE: ENERGY TRANSFER PARTNERS,§
		

L.P., ENERGY TRANSFER EQUITY, L.P.,§ 
		ORIGINAL PROCEEDING

AND HOUSTON PIPE LINE CO., L.P.,         §		

RELATORS	

                                                                                                                                                            


MEMORANDUM OPINION


PER CURIAM


	On April 15, 2009, this court delivered an opinion conditionally granting the petition for writ
of mandamus filed by Energy Transfer Partners, L.P., Energy Transfer Equity, L.P., and Houston Pipe
Line Co., L.P.  The opinion ordered the respondent trial court to vacate the portion of its July&nbsp;15, 2008
order requiring production of a certain sound report insofar as it pertained to the property of Joey and
Molina Courtney.  The opinion further ordered the trial court to issue an order denying the motion
to compel such production.  Subsequently, on April 20, 2009, this court received an order from the
trial court that complied with our order and opinion of April 15, 2009.

	All issues attendant to this original proceeding having been disposed of, this proceeding has
now been rendered moot; therefore, the writ need not issue.  Accordingly, this original proceeding
is dismissed.

Opinion delivered April 22, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


